Case 9:19-cr-80056-RKA Document 50 Entered on FLSD Docket 08/13/2019 Page 1 of 2



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 19-80056-CR-ALTMAN/BRANNON


  UNITED STATES OF AMERICA

  vs.

  YUJING ZHANG,

                    Defendant.
  ______________________________________/

                     GOVERNMENT’S PROPOSED VOIR DIRE QUESTIONS

            The United States, by and through the undersigned Assistant United States Attorney,

  respectfully submits the following voir dire questions, in accordance with the Court’s Order

  Continuing Trial (DE 34), in addition to the general questions asked by the Court to prospective

  jurors.

            1. There has been news media reporting on this case. To what extent, if any, have you

               read or heard any publicity or news reports relating to this case? If so, what types of

               news media sources did you obtain information about this case from? What did you

               read or hear? (can be done sidebar)

            2. Did you obtain any information about this case on the internet? If so, what sites did you

               obtain information about this case from? What did read or hear? (can be done sidebar)

            3. Is there anything that you have read or heard that would effect your verdict? Will you

               be able to set aside anything you may have read or heard and judge the case fairly and

               impartially based on the evidence and the law as the Court instructs you?

            4. Will you be able to set aside anything you may have read or heard and judge the case

               fairly and impartially based on the evidence and the law as the Court instructs you?
Case 9:19-cr-80056-RKA Document 50 Entered on FLSD Docket 08/13/2019 Page 2 of 2



         5. Have any of you visited a restricted building or grounds where a President of the United

            States or other person protected by the United States Secret Service was or was

            temporarily visiting? Is so, explain.



                                                    Respectfully submitted,

                                                    ARIANA FAJARDO ORSHAN
                                                    UNITED STATES ATTORNEY

                                         BY:          s/ Rolando Garcia
                                                    ROLANDO GARCIA
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                               CERTIFICATE OF SERVICE

         I hereby certify that on August 13, 2019, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF.


                                                         s/ Rolando Garcia
                                                         Rolando Garcia
                                                         Assistant United States Attorney




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